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10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11
                              UNITED STATES DISTRICT COURT
12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                 No. CR 23-47-JLS
14
                Plaintiff,                     PROPOSED VERDICT FORMS
15
                      v.                       Trial Date:     August 6, 2024
16                                             Trial Time:     8:30 a.m.
     THOMAS VINCENT GIRARDI,                   Location:       Courtroom of the
17                                                             Hon. Josephine L.
                Defendant.                                     Staton
18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorneys Scott Paetty and Ali
22   Moghaddas, hereby files the parties’ proposed verdict forms.
23   //
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 1         While the parties agree a general verdict form is required (as

 2   opposed to a special verdict form), they disagree on the level of

 3   detail that should be included.        The government proposes a

 4   straightforward verdict form that only identifies the count and the

 5   client victim’s initials (assuming the Court is disinclined to send a

 6   trial indictment back with the jury during deliberations).             The

 7   defendant’s proposal includes much more detail than is typically

 8   included or necessary.      While the government will admit evidence

 9   regarding the details of each wire underlying the counts, such detail

10   is not necessary in the verdict form.

11         Defendant Girardi’s position is below:

12         It is appropriate to identify the wires alleged in the
           indictment because misuse of wires is the conduct
13         prohibited by the wire fraud statute, and alleged misuse of
           multiple wires creates the basis for multiple counts. In
14
           the recent wire fraud case of U.S. v. Middlebrook, the
15         government proposed, and Judge Dale S. Fischer adopted, a
           verdict form specifically identifying the wire underlying
16         each count. See U.S. v. Middlebrook, 2:20-cr-00229-DSF, ECF
           No. 257, at 2 (government-proposed verdict form asking the
17         jury to make a determination “with respect to a text
           message sent on March 16, 2020, at or about 4:53 p.m. by
18         defendant”).
19
      Dated: July 30, 2024                 Respectfully submitted,
20
                                           E. MARTIN ESTRADA
21                                         United States Attorney

22                                         MACK E. JENKINS
                                           Assistant United States Attorney
23                                         Chief, Criminal Division

24
                                                 /s/
25                                         SCOTT PAETTY
                                           ALI MOGHADDAS
26                                         Assistant United States Attorney

27                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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    GOVERNMENT’S PROPOSED
        VERDICT FORM
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8                             UNITED STATES DISTRICT COURT

9                            CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                 No. 23-00047-JLS

11              Plaintiff,                     VERDICT

12                    v.

13   THOMAS V. GIRARDI,

14              Defendant.

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17         We, the jury in the above-entitled action, present the following
18   unanimous verdict:
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1                                        COUNT ONE

2                           (Wire Fraud, 18 U.S.C. § 1343)

3          We, the jury in the above-entitled action, unanimously find the

4    defendant, Thomas V. Girardi (check one):

5

6                            ___   NOT GUILTY

7

8                            ___   GUILTY

9

10   of the offense charged in Count One of the Indictment relating to

11   client E.S.

12

13   (Please proceed to next count)

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2                                        COUNT TWO

3                           (Wire Fraud, 18 U.S.C. § 1343)

4          We, the jury in the above-entitled action, unanimously find the

5    defendant, Thomas V. Girardi (check one):

6

7                            ___   NOT GUILTY

8

9                            ___   GUILTY

10

11   of the offense charged in Count Two of the Indictment relating to

12   client J.R.

13

14   (Please proceed to next count)

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3                                       COUNT THREE

4                           (Wire Fraud, 18 U.S.C. § 1343)

5          We, the jury in the above-entitled action, unanimously find the

6    defendant, Thomas V. Girardi (check one):

7

8                            ___   NOT GUILTY

9

10                           ___   GUILTY

11

12   of the offense charged in Count Three of the Indictment relating to

13   client J.H.

14

15   (Please proceed to next count)

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4                                       COUNT FOUR

5                           (Wire Fraud, 18 U.S.C. § 1343)

6          We, the jury in the above-entitled action, unanimously find the

7    defendant, Thomas V. Girardi (check one):

8

9                            ___   NOT GUILTY

10

11                           ___   GUILTY

12

13   of the offense charged in Count Four of the Indictment relating to

14   client J.S.

15

16

17   (Please sign and date this form and return it to the Court)

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21    Dated:

22                                          FOREPERSON OF THE JURY

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       DEFENDANT’S PROPOSED
           VERDICT FORM
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                                    COUNT ONE
                           (Wire Fraud, 18 U.S.C. § 1343)
 We, the jury in the above-entitled action, unanimously find the defendant, Thomas
 V. Girardi (check one):
              ___ NOT GUILTY
              ___ GUILTY
 of wire fraud as charged in Count One of the Indictment, relating to a wire transfer
 on June 17, 2019 of approximately $4,000,000 from City National Bank, in Los
 Angeles, California, through the Fedwire system to the Nano Banc IOLTA Account,
 in Los Angeles, California.
                                    COUNT TWO
                           (Wire Fraud, 18 U.S.C. § 1343)
 We, the jury in the above-entitled action, unanimously find the defendant, Thomas
 V. Girardi (check one):
              ___ NOT GUILTY
              ___ GUILTY
 of wire fraud as charged in Count Two of the Indictment, relating to a wire on July 1,
 2019 clearing an approximately $2,500,000 check drawn on the Nano Banc IOLTA
 Account, in Los Angeles, California and deposited into First Century Bank, in Los
 Angeles, California
                                   COUNT THREE
                           (Wire Fraud, 18 U.S.C. § 1343)
 We, the jury in the above-entitled action, unanimously find the defendant, Thomas
 V. Girardi (check one):
              ___ NOT GUILTY
              ___ GUILTY
 of wire fraud as charged in Count Three of the Indictment, relating to a wire transfer
 on May 22, 2020 of approximately $128,250 from Bank of America, in New York,
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 New York, through the Fedwire system to the Torrey Pines IOLTA Account, in Los
 Angeles, California.
                                 COUNT FOUR
                          (Wire Fraud, 18 U.S.C. § 1343)
 We, the jury in the above-entitled action, unanimously find the defendant, Thomas
 V. Girardi (check one):
             ___ NOT GUILTY
             ___ GUILTY
 of wire fraud as charged in Count Four of the Indictment, relating to a wire on
 June 25, 2020 clearing a check of approximately $504,400 by drawing upon a
 JPMorgan Chase Bank account in Fort Washington, New York, and crediting funds
 to the Torrey Pines IOLTA Account in Los Angeles, California
